EXHIBIT B
                                                                        City of Jacksonville Police and Fire Pension Fund LIFO Losses                                                                    Telos Corp.
                                                                                                                                                                               Class Period: 11/19/2020 - 11/12/2021


                                                                                       Sales on Class
             Transaction                                 Class Period    Class Period
 Date                      # Shares    Share Price ($)                                    Period            Cost             Proceeds                                  Damage Summary
                Type                                      Purchases         Sales
                                                                                        Purchases
12/22/2020    Purchase        24,400          29.7269         24,400              ‐              ‐      $   725,336.36                      Total Class Period Purchases:                                  65,100
 1/11/2021    Purchase         4,350          29.9080          4,350              ‐              ‐      $   130,099.80                      Total Class Period Sales:                                     (20,500)
 1/14/2021    Purchase        16,850          34.8884         16,850              ‐              ‐      $   587,869.54                      Total Sales on Class Period Purchases:                        (20,500)
  3/8/2021    Purchase        19,500          29.4253         19,500              ‐              ‐      $   573,793.35                      Total Class Period Shares Retained:                            44,600
 9/21/2021      Sale          20,500          31.1937            ‐            (20,500)       (20,500)                    $   (639,470.85)   90‐Day Lookback Price:                         $              14.5552

                                                                                                                                            Class Period Purchases Cost:                   $         2,017,099.05
                                                                                                                                            Sales on Class Period Purchases Proceeds:      $          (639,470.85)
                                                                                                                                            Remaining Shares Valued at the 90‐Day:         $          (649,163.97)

                                                                                                                                            Total Loss:                                    $           728,464.23
                                                                                   Oklahoma Law Enforcement Retirement System LIFO Losses                                                                                   Telos Corp.
                                                                                                                                                                                                  Class Period: 11/19/2020 - 11/12/2021


                                                                                                    Sales on Class
                  Transaction                                       Class Period     Class Period
     Date                            # Shares     Share Price ($)                                      Period              Cost             Proceeds                                      Damage Summary
                     Type                                            Purchases          Sales
                                                                                                     Purchases
      4/1/2021     Purchase               8,000          33.0000           8,000              ‐               ‐      $     264,000.00                          Total Class Period Purchases:                                  17,145
      4/1/2021     Purchase               2,788          35.7405           2,788              ‐               ‐      $      99,644.51                          Total Class Period Sales:                                         ‐
     4/12/2021     Purchase               1,270          33.6221           1,270              ‐               ‐      $      42,700.07                          Total Sales on Class Period Purchases:                            ‐
     4/28/2021     Purchase                 803          33.2650             803              ‐               ‐      $      26,711.80                          Total Class Period Shares Retained:                            17,145
      5/7/2021     Purchase               1,354          31.0813           1,354              ‐               ‐      $      42,084.08                          90‐Day Lookback Price:                         $              14.5552
     5/10/2021     Purchase               1,129          31.6188           1,129              ‐               ‐      $      35,697.63
     5/19/2021     Purchase                 871          27.9611             871              ‐               ‐      $      24,354.12                          Class Period Purchases Cost:                   $           561,331.72
     7/30/2021     Purchase                 800          27.9749             800              ‐               ‐      $      22,379.92                          Sales on Class Period Purchases Proceeds:      $                  ‐
      8/2/2021     Purchase                 130          28.9200             130              ‐               ‐      $       3,759.60                          Post‐Class Period Sales on Class Period
                                                                                                                                                               Purchases Proceeds:                            $            (61,798.23)
                                                                                                                                                               Remaining Shares Valued at the 90‐Day:         $           (190,848.38)

Post‐Class Period Sales on Retained Shares                                                                                                                     Total Loss:                                    $           308,685.11

                                                                                                   Sales on Class
                  Transaction                                       Class Period     Class Period
     Date                            # Shares     Share Price ($)                                     Period               Cost             Proceeds
                     Type                                            Purchases          Sales
                                                                                                    Purchases
   12/17/2021         Sale                1,533          16.5754              ‐            (1,533)        (1,533)                       $      (25,410.11)
    2/10/2022         Sale                2,500          14.5552              ‐            (2,500)        (2,500)                       $      (36,388.11)



Pursuant to the PSLRA, post‐class period sales are priced at the higher of the sale price and the average price from the beginning of the 90‐day period through the sale date.
